                Case 2:20-cv-00215-SWS Document 237-1 Filed 09/20/22 Page 1 of 19



Lillian Alves

From:                              Lindsey Romano
Sent:                              Friday, September 2, 2022 4:10 PM
To:                                Brice Timmons; Craig Edgington; Thomas Quinn; Lillian Alves; 'Will Routt'; 'Mike
                                   Rosenthal'; 'Frank Watson'; Melissa Stewart; 'Nathan Nicholas'
Subject:                           RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS
Attachments:                       RE: HIPAA Releases for Putative Class Members; RE: Sherman et al. v. Trinity Teen
                                   Solutions, Inc., et al., Case No. 2:20-cv-215-SWS | Putative Plaintiffs Authorization Forms;
                                   RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS


Counselors,

Please be advised that today Defendants produced responsive documents including the daily supervision logs and
requested documents from 10 of the putative plaintiffs, totaling approximately 42,000 pages. We will be producing
additional records on Tuesday and continuing to do so on a rolling basis. Please note the due date for this production is
September 12, 2022—30 days from the receipt of the updated list of putative plaintiffs.

We received the updated list of claimants on August 11, 2022 and requested clarification on August 12, 2022. On August
16, 2022 we received additional clarification from Mr. Edgington (emails attached). After identifying the correct putative
plaintiffs, we had to determine which putative plaintiffs had electronic files versus hard files. For those with hard files we
had to request our clients to retrieve and then send those to our Denver office. Then, those files were sent to the vendor
to be scanned and uploaded. The timeline of that effort is set forth below and in our August 23, 2022 email.

We understand the tight turnaround, but must emphasize there has been absolutely no delay on our end. Rather, we
have been working diligently, pulling in extra resources, and timely providing these records to your office.

We appreciate the continued cooperation amongst counsel and wish you all a happy Labor Day weekend.

Sincerely,

LINDSEY M. ROMANO | Assistant Managing Partner- Bay Area Offices

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275 Battery Street, Suite 2000
San Francisco, CA 94111
D: 415-875-4126 | P: 415-986-5900 | F: 415-986-8054 | lromano@grsm.com

www.grsm.com
vCard | Bio | LinkedIn

        From: Brice Timmons <brice@donatilaw.com>
        Sent: Tuesday, August 30, 2022 3:33 PM
        To: Lindsey Romano <lromano@grsm.com>; Craig Edgington <craig@donatilaw.com>; Thomas Quinn
        <tquinn@grsm.com>; Lillian Alves <lalves@grsm.com>; 'Will Routt' <wroutt@watsonburns.com>; 'Mike

                                                              1
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Rosenthal' <mrosenthal@hkwyolaw.com>; 'Frank Watson' <fwatson@watsonburns.com>; Melissa Stewart
<melissa@donatilaw.com>; 'Nathan Nicholas' <nnicholas@hkwyolaw.com>
Subject: Re: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

Lindsay,

We foresaw issues like this arising and requested more time from you, which you aggressively opposed,
calling us dilatory. The Court agreed with you and denied our request to extend the hearing date. We
reworked our litigation plan as a result and managed to get our motion for class certification in by the
deadline you insisted upon.

Regarding this discovery, you could have complied with or prepared to comply with our requests when
they were propounded but relied on a boilerplate objection instead. You explained your position to
Judge Rankin, and he made his decision based on those arguments. We even agreed to your proposed
schedule for production.

Our opposition to a continuance is not arbitrary. We have booked non-refundable airfare. Craig and I
have scheduled a host of depositions in a 6-defendant wrongful death 1983 case in the following weeks,
which cannot easily be rescheduled. We do not have another 3-day period when all counsel can be
available before I travel to Europe on October 17 for 3 weeks. I return to prepare for a wrongful death
1983 case set a week later. Then we run into the holidays.

You had the opportunity to avoid this situation and chose not to, and we cannot agree to upend all of our
schedules or have attorneys unavailable for a hearing because you assumed that your objections would
be well-taken, did not heed our concerns, and are now having difficulty meeting a production schedule
that you proposed.

Please comply with the Court's order. If you and your clients do not, we will have to engage in motion
practice. Given our deadline of 9/14 for supplemental briefing, we expect document production to be
complete by Friday. That gives us only one week to review 200,000 pages of documents, which we are
committing additional resources to do. Anything beyond that, and we think the Court will agree that you
have been dilatory and failed to comply with its orders. I would remind you that one sanction available
to the Court is to determine that you have waived your opposition to class certification.

Sent via the Samsung Galaxy S20 FE 5G, an AT&T 5G smartphone
Get Outlook for Android

From: Lindsey Romano <lromano@grsm.com>
Sent: Tuesday, August 30, 2022 4:47:26 PM
To: Craig Edgington <craig@donatilaw.com>; Thomas Quinn <tquinn@grsm.com>; Lillian Alves
<lalves@grsm.com>; 'Will Routt' <wroutt@watsonburns.com>; 'Mike Rosenthal' <mrosenthal@hkwyolaw.com>;
'Frank Watson' <fwatson@watsonburns.com>; Melissa Stewart <melissa@donatilaw.com>; Brice Timmons
<brice@donatilaw.com>; 'Nathan Nicholas' <nnicholas@hkwyolaw.com>
Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

Mr. Edgington,

Please see the attached email from last Tuesday, August 23, 2022 providing you with a status update. Since last
Tuesday, we have made additional progress outlined below.



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        Two additional boxes of documents received, scanned, and loaded to relativity for review; as well as
        additional                documents.
        The vendor continues to scan the remaining 19 boxes.
        Additional review of electronic files identified 4 more residents pre-2015 that had electronic files to
        download and have been provided to the vendor for uploading and review.
        We remain in the process of reviewing/redacting supervision checklists pre 2015 to provide those
        redacted of non-named putative plaintiffs.
        Paralegal staff completed initial review of and identification of responsive documents as to
        (2,791 pages),          (5,634 pages) and           (4,242). Attorney review is underway and we expect
        these to be the first files produced soon.
        The client had to obtain health insurance claim forms from their third-party provider for 2014-2019.
        The provider only provided those records today. The client sent them to us today and we are in the
        process of transmitting those records to the vendor for review and disclosure.

We are working diligently to ensure we are producing the documents to you as quickly as possible, including
bringing on additional paralegal and attorney staff to expedite review and redaction of the records. As you will
recall, during the conference with Judge Rankin, we explained in great detail that significant time and cost would
be required to produce these records. We will continue to endeavor to roll the production to you as outlined in
the Order. However, in light of the reality of the sheer size of the production and tight timeframe, you may want
to reconsider your position on extending deadlines in the scheduling order. Alternatively, if you have any other
suggestions, we are happy to discuss.



LINDSEY M. ROMANO | Assistant Managing Partner- Bay Area Offices

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San Francisco, CA 94111
D: 415-875-4126 | P: 415-986-5900 | F: 415-986-8054 | lromano@grsm.com

www.grsm.com
vCard | Bio | LinkedIn

        From: Craig Edgington <craig@donatilaw.com>
        Sent: Tuesday, August 30, 2022 12:19 PM
        To: Thomas Quinn <tquinn@grsm.com>; Lillian Alves <lalves@grsm.com>; 'Will Routt'
        <wroutt@watsonburns.com>; 'Mike Rosenthal' <mrosenthal@hkwyolaw.com>; 'Frank Watson'
        <fwatson@watsonburns.com>; Melissa Stewart <melissa@donatilaw.com>; Brice Timmons
        <brice@donatilaw.com>; 'Nathan Nicholas' <nnicholas@hkwyolaw.com>; Lindsey Romano
        <lromano@grsm.com>
        Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

        Counselors,

        As of today, we have yet to receive a single document responsive to RFPD 1 – 11 as required by ECF 209.
        As you recall we had our informal discovery conference with Judge Rankin on August 9, 2022, where he
        ordered “Defendants shall produce the discovery as soon as possible and shall do so on a rolling basis.”
                                                     3
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He later memorialized this ruling on August 12, 2022 (ECF 209 at Page#4.) Furthermore, the Court
altered the briefing schedule to allow the ability to utilize these discovery documents in our attempt to
certify the class. Friday would mark fourteen days prior to our deadline to file our supplemental brief.

We have diligently contacted putative class members and provided you with each of the HIPAA releases
that we have received back in response from those putative class members. We will continue to seek
out the remaining releases you have requested. However, at this time you should begin redacting those
records related to putative class members that have not returned their HIPAA releases.

Please immediately begin rolling production of these documents in accordance with my email dated
Thursday, August 11, 2022 2:26 PM and Judge Rankin’s August 12, 2022, order (ECF 209.) As you are
aware, we anticipate hundreds of thousands of documents which will take days to download, OCR, sort,
and review by dozens of attorneys or staff for proper utilization in our supplemental brief. Judge
Rankin’s order was clear when he directed your client to “produce the discovery as soon as possible” yet
21 days have lapsed without a single document being produced.

Please provide us with an update as to when we can expect discovery production to begin. Again, we
have no desire to extend our briefing schedule or postponing the hearing on class certification. Rather, if
rolling production does not begin by Friday, September 2, 2022, we intend to file a motion to compel,
for sanctions, and for fees.

Best regards,

Craig A. Edgington, Attorney
1545 Union Avenue, Memphis, TN 38104
phone 901.278.1004 | direct 901.356.8269
fax 901.278.3111 | craig@donatilaw.com
www.donatilaw.com




This message contains information which may be confidential and privileged. If you are not the intended recipient,
please advise the sender and delete the message. Any tax advice contained in this email is not intended to be used
for the purpose of avoiding penalties that may be imposed by the IRS.




From: Thomas Quinn <tquinn@grsm.com>
Sent: Friday, August 26, 2022 5:42 PM
To: Craig Edgington <craig@donatilaw.com>; Lillian Alves <lalves@grsm.com>; 'Will Routt'
<wroutt@watsonburns.com>; 'Mike Rosenthal' <mrosenthal@hkwyolaw.com>; 'Frank Watson'
<fwatson@watsonburns.com>; Melissa Stewart <melissa@donatilaw.com>; Brice Timmons
<brice@donatilaw.com>; 'Nathan Nicholas' <nnicholas@hkwyolaw.com>
Cc: Lindsey Romano <lromano@grsm.com>
Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS




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Craig, I was not clear in the dates to be considered rolling back. I should have said
consider rolling back the certification supplementation date and oral argument
dates.

Thanks

From: Thomas Quinn
Sent: Friday, August 26, 2022 3:41 PM
To: 'Craig Edgington' <craig@donatilaw.com>; Lillian Alves <lalves@grsm.com>; Will Routt
<wroutt@watsonburns.com>; Mike Rosenthal <mrosenthal@hkwyolaw.com>; Frank Watson
<fwatson@watsonburns.com>; Melissa Stewart <melissa@donatilaw.com>; Brice Timmons
<brice@donatilaw.com>; Nathan Nicholas <nnicholas@hkwyolaw.com>
Cc: Lindsey Romano <lromano@grsm.com>
Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

Craig, we are looking 9/6 or 9/7 and are checking with insurer and clients now. It
will likely be Monday before we have an answer. I’ll let JAMS know and copy you
on that message.

As for the deps I will again be defending in person and my schedule is really
jammed between now and well into the middle of September. I apologize for this
and suggest that we set a brief call for Monday to address this delay and consider
rolling back plaintiffs Reply date so not to put you all in a jam. We can circulate
some proposed dates before the call.

Let us know if you and your colleagues have time for a call Monday.

Thank you, Tom

rom: Craig Edgington <craig@donatilaw.com>
Sent: Friday, August 26, 2022 3:02 PM
To: Thomas Quinn <tquinn@grsm.com>; Lillian Alves <lalves@grsm.com>; Will Routt
<wroutt@watsonburns.com>; Mike Rosenthal <mrosenthal@hkwyolaw.com>; Frank Watson
<fwatson@watsonburns.com>; Melissa Stewart <melissa@donatilaw.com>; Brice Timmons
<brice@donatilaw.com>; Nathan Nicholas <nnicholas@hkwyolaw.com>
Cc: Lindsey Romano <lromano@grsm.com>
Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

Counselors,

I was just contacted by Judge Downes’ team. He and his wife both have Covid and apparently it is quite
bad. Judge Downes’ team has suggested September 6, 7, 9, and 12th as new mediation dates. Brice or I
can make any of these dates work. These dates coincide with the dates I suggested for     and
depositions as well. Let us know your availability.

Best regards,

                                           5
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Craig A. Edgington

From: Craig Edgington
Sent: Friday, August 26, 2022 1:20 PM
To: Thomas Quinn <tquinn@grsm.com>; Lillian Alves <lalves@grsm.com>; Will Routt
<wroutt@watsonburns.com>; Mike Rosenthal <mrosenthal@hkwyolaw.com>; Frank Watson
<fwatson@watsonburns.com>; Melissa Stewart <melissa@donatilaw.com>; Brice Timmons
<brice@donatilaw.com>; Nathan Nicholas <nnicholas@hkwyolaw.com>
Cc: Lindsey Romano <lromano@grsm.com>
Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

Thomas,

I plan on taking a full day with    . I will likely be able to get through    in a 4 hour period.

Best regards,

Craig A. Edgington

From: Thomas Quinn <tquinn@grsm.com>
Sent: Friday, August 26, 2022 1:12 PM
To: Craig Edgington <craig@donatilaw.com>; Lillian Alves <lalves@grsm.com>; Will Routt
<wroutt@watsonburns.com>; Mike Rosenthal <mrosenthal@hkwyolaw.com>; Frank Watson
<fwatson@watsonburns.com>; Melissa Stewart <melissa@donatilaw.com>; Brice Timmons
<brice@donatilaw.com>; Nathan Nicholas <nnicholas@hkwyolaw.com>
Cc: Lindsey Romano <lromano@grsm.com>
Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

Craig, how much time with each witness and can they be done in one day?

        From: Craig Edgington <craig@donatilaw.com>
        Sent: Friday, August 26, 2022 11:53 AM
        To: Lillian Alves <lalves@grsm.com>; Will Routt <wroutt@watsonburns.com>; Mike Rosenthal
        <mrosenthal@hkwyolaw.com>; Frank Watson <fwatson@watsonburns.com>; Melissa Stewart
        <melissa@donatilaw.com>; Brice Timmons <brice@donatilaw.com>; Nathan Nicholas
        <nnicholas@hkwyolaw.com>
        Cc: Thomas Quinn <tquinn@grsm.com>; Lindsey Romano <lromano@grsm.com>
        Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

        Counselors,

        We have not heard back from you regarding available deposition dates for        or    . We
        need to depose these Defendants prior to our supplemental briefing deadline in the event that
        mediation is not fruitful.

        Either Brice or I can be available on September 6, 8, 9, and 12th. Please let us know which of
        those dates, if any, work for you and your clients.

        Best regards,

        Craig A. Edgington
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      From: Craig Edgington
      Sent: Wednesday, August 24, 2022 3:07 PM
      To: Lillian Alves <lalves@grsm.com>; Will Routt <wroutt@watsonburns.com>; Mike Rosenthal
      <mrosenthal@hkwyolaw.com>; Frank Watson <fwatson@watsonburns.com>; Melissa Stewart
      <melissa@donatilaw.com>; Brice Timmons <brice@donatilaw.com>; Nathan Nicholas
      <nnicholas@hkwyolaw.com>
      Cc: Thomas Quinn <tquinn@grsm.com>; Lindsey Romano <lromano@grsm.com>
      Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

      Lilian,

      We do not oppose the relief sought.

      Best regards,

      Craig

      From: Lillian Alves <lalves@grsm.com>
      Sent: Wednesday, August 24, 2022 3:02 PM
      To: Craig Edgington <craig@donatilaw.com>; Will Routt <wroutt@watsonburns.com>; Mike
      Rosenthal <mrosenthal@hkwyolaw.com>; Frank Watson <fwatson@watsonburns.com>;
      Melissa Stewart <melissa@donatilaw.com>; Brice Timmons <brice@donatilaw.com>; Nathan
      Nicholas <nnicholas@hkwyolaw.com>
      Cc: Thomas Quinn <tquinn@grsm.com>; Lindsey Romano <lromano@grsm.com>
      Subject: RE: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

      Good afternoon,

      We also intend to file a motion with the Court prior to filing documents previously marked
      confidential under seal and will also request 15 additional pages. May I have your position
      regarding both?

      Thanks,
      Lily

                From: Lindsey Romano <lromano@grsm.com>
                Sent: Friday, August 12, 2022 1:52 PM
                To: Craig Edgington <craig@donatilaw.com>
                Cc: Will Routt <wroutt@watsonburns.com>; Thomas Quinn <tquinn@grsm.com>; Lillian
                Alves <lalves@grsm.com>; Mike Rosenthal <mrosenthal@hkwyolaw.com>; Nathan
                Nicholas <nnicholas@hkwyolaw.com>; Frank Watson <fwatson@watsonburns.com>;
                Melissa Stewart <melissa@donatilaw.com>; Brice Timmons <brice@donatilaw.com>
                Subject: Re: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No. 2:20-cv-215-
                SWS

                Hello,

                We would prefer for you to file under seal and have no opposition to your request to do
                so.


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            -Lindsey

            Sent from my iPhone


                   On Aug 12, 2022, at 11:44 AM, Craig Edgington <craig@donatilaw.com>
                   wrote:


                   Lindsey,

                   We feel under LR 5.1(g) and our protective order (ECF 172) we are still
                   required to file a motion with the Court prior to filing our exhibits under
                   seal. Can we get your position on our motion to file under seal any
                   previously marked confidential document?

                   Best regards,

                   Craig A. Edgington

                   From: Lindsey Romano <lromano@grsm.com>
                   Sent: Friday, August 12, 2022 10:48 AM
                   To: Will Routt <wroutt@watsonburns.com>
                   Cc: Craig Edgington <craig@donatilaw.com>; Thomas Quinn
                   <tquinn@grsm.com>; Lillian Alves <lalves@grsm.com>; Mike Rosenthal
                   <mrosenthal@hkwyolaw.com>; Nathan Nicholas
                   <nnicholas@hkwyolaw.com>; Frank Watson
                   <fwatson@watsonburns.com>; Melissa Stewart
                   <melissa@donatilaw.com>; Brice Timmons <brice@donatilaw.com>
                   Subject: Re: Sherman et al. v. Trinity Teen Solutions, Inc., et al., Case No.
                   2:20-cv-215-SWS

                   Counsel,

                   Yes, our clients are opposing the motion for class certification. Thank
                   you.

                   Sincerely,

                   Lindsey Romano


                           On Aug 12, 2022, at 8:11 AM, Will Routt
                           <wroutt@watsonburns.com> wrote:


                           Lindsey-

                           While I am reasonably sure that you have consulted
                           with other people on our side on the class certification
                           issue, I want to make sure that we have complied with
                           our consultation obligations. Can you let me know

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                       whether your clients will consent to or oppose
                       certification of the putative class in this case?

                       Many thanks,

                       William E. Routt, III
                       WATSON BURNS, PLLC
                       253 Adams Avenue
                       Memphis, Tennessee 38103
                       901-529-7996
                       (fax) 901-529-7998
                       wroutt@watsonburns.com

                       From: Craig Edgington <craig@donatilaw.com>
                       Sent: Thursday, August 11, 2022 2:55 PM
                       To: Lindsey Romano <lromano@grsm.com>; Thomas
                       Quinn <tquinn@grsm.com>; Lillian Alves
                       <lalves@grsm.com>
                       Cc: 'Mike Rosenthal' <mrosenthal@hkwyolaw.com>;
                       'Nathan Nicholas' <nnicholas@hkwyolaw.com>; Frank
                       Watson <fwatson@watsonburns.com>; Melissa Stewart
                       <melissa@donatilaw.com>; Will Routt
                       <wroutt@watsonburns.com>; Brice Timmons
                       <brice@donatilaw.com>
                       Subject: RE: Sherman et al. v. Trinity Teen Solutions,
                       Inc., et al., Case No. 2:20-cv-215-SWS

                       Lindsey,

                       Thank you for your prompt response and of course we
                       will extend the same courtesy to your response.

                       Best regards,

                       Craig

                       From: Lindsey Romano <lromano@grsm.com>
                       Sent: Thursday, August 11, 2022 2:53 PM
                       To: Craig Edgington <craig@donatilaw.com>; Thomas
                       Quinn <tquinn@grsm.com>; Lillian Alves
                       <lalves@grsm.com>
                       Cc: 'Mike Rosenthal' <mrosenthal@hkwyolaw.com>;
                       'Nathan Nicholas' <nnicholas@hkwyolaw.com>; 'Frank
                       Watson' <fwatson@watsonburns.com>; Melissa
                       Stewart <melissa@donatilaw.com>; Will Routt
                       <wroutt@watsonburns.com>; Brice Timmons
                       <brice@donatilaw.com>
                       Subject: RE: Sherman et al. v. Trinity Teen Solutions,
                       Inc., et al., Case No. 2:20-cv-215-SWS

                       Counsel,
                                   9
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                        We have no objection to your 7.1(b)(1)(C) request as
                        long as we can be extended the same courtesy for our
                        response.

                        Sincerely,



                        LINDSEY M. ROMANO | Assistant Managing Partner- Bay Area Offices

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                        San Francisco, CA 94111
                        D: 415-875-4126 | P: 415-986-5900 | F: 415-986-8054 | lromano@grsm.com

                        www.grsm.com
                        vCard | Bio | LinkedIn

                                From: Craig Edgington <craig@donatilaw.com>
                                Sent: Thursday, August 11, 2022 12:34 PM
                                To: Lindsey Romano <lromano@grsm.com>;
                                Thomas Quinn <tquinn@grsm.com>; Lillian
                                Alves <lalves@grsm.com>
                                Cc: 'Mike Rosenthal'
                                <mrosenthal@hkwyolaw.com>; 'Nathan
                                Nicholas' <nnicholas@hkwyolaw.com>; 'Frank
                                Watson' <fwatson@watsonburns.com>; Melissa
                                Stewart <melissa@donatilaw.com>; Will Routt
                                <wroutt@watsonburns.com>; Brice Timmons
                                <brice@donatilaw.com>
                                Subject: RE: Sherman et al. v. Trinity Teen
                                Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

                                Counselors,

                                We intend to file a motion today or first thing in
                                the morning seeking up to an additional 15
                                pages pursuant to LR 7.2 (c) for our Motion for
                                Class Certification due to complexity, size of the
                                putative class, and evidence. Can one of you
                                provide your position on our motion?

                                Best regards,

                                Craig A. Edgington

                                From: Craig Edgington
                                Sent: Thursday, August 11, 2022 2:26 PM
                                     10
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                              To: Lindsey Romano <lromano@grsm.com>;
                              Thomas Quinn <tquinn@grsm.com>; Lillian
                              Alves <lalves@grsm.com>
                              Cc: 'Mike Rosenthal'
                              <mrosenthal@hkwyolaw.com>; 'Nathan
                              Nicholas' <nnicholas@hkwyolaw.com>; 'Frank
                              Watson' <fwatson@watsonburns.com>; Melissa
                              Stewart <melissa@donatilaw.com>; Will Routt
                              <wroutt@watsonburns.com>; Brice Timmons
                              <brice@donatilaw.com>
                              Subject: RE: Sherman et al. v. Trinity Teen
                              Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

                              Counselors,

                              Per our compromise please find attached a new
                              randomized list of requested putative class
                              members’ discovery documents. We have
                              reduced the list to six girls per year starting in
                              2011. For years 2012 – 2015 we have reduced
                              the request by the number of our named class
                              members present. In the event that the
                              randomized girl requested is one of our named
                              clients, please provide the closest putative class
                              member immediately preceding or following
                              our client from the Daily Supervision Check
                              Sheet.

                              I understand that your client may not have been
                              at full capacity at all times or that you may have
                              removed a girl and not modified their
                              numbering on the Daily Supervision Check
                              Sheet which might result in no putative class
                              member correlating to our requested random
                              selection. Please follow the same instructions
                              above and provide the nearest putative class
                              member from the Daily Supervision Check Sheet
                              for that given day if our requested random
                              selection does not result in a putative class
                              member being selected.

                              Please compare the list of random girls to our
                              First Supplemental Initial Disclosures which
                              indicates which putative class members we
                              have been in contact with so we can obtain
                              HIPAA releases for you to ensure that girl’s
                              records are provided unredacted.

                              If records are provided for random girls that we
                              have not been in contact with, I would ask that
                              you Bates stamp their records with some
                              indication of whom those records belong to. For

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                              example, I would ask that you Bates Stamp their
                              records in the bottom left corner in some way
                              such as TTS - Girl 8, Jan. 28, 2011_0000x. As
                              well as using this same identifier as the title of
                              their main folder folding all their records.

                              Additionally, for each and every separate girl
                              identified I would respectfully request
                              subfolders in any production for those girls
                              which indicates which RFPD the documents you
                              are disclosing are responsive too. Receiving
                              200,000 pages of redacted records, without
                              identifiers or subfolders indicating which
                              documents are responsive to which requests
                              would be disfavored by the Court. Courts have
                              interpreted

                                      the amended rule 34(b) to
                                      impose affirmative
                                      requirements on all massive
                                      productions of documents, with
                                      the logic being that the
                                      enormity of a production,
                                      alone, could render it useless
                                      to the requesting party even
                                      without any deliberate mixing
                                      on the part of the producing
                                      party. See Pass & Seymour,
                                      Inc. v. Hubbell Inc., 255 F.R.D.
                                      331, 334 (2008)(Peebles,
                                      M.J.)(noting the disfavor that
                                      courts have shown to the
                                      "dumping of massive quantities
                                      of documents, with no indexing
                                      or readily apparent
                                      organization, in response to a
                                      document request from an
                                      adversary"). The amendment
                                      had the effect of requiring the
                                      producing party to produce
                                      documents in an organized,
                                      comprehensible arrangement -
                                      - either by specifically indexing
                                      each document to the
                                      request to which it was
                                      responsive, or, failing that
                                      matching, by producing the
                                      documents with the business'
                                      filing system or other
                                      organizational structure still
                                      intact and usable by the
                                      requesting party, thus
                                      "minimiz[ing] the burden
                                      of production while maintaining
                                      the internal logic reflecting
                                      business use." SEC v. Collins &
                                      Aikman Corp., 256 F.R.D. 403,
                                      409 (S.D.N.Y.
                                      2009)(Scheindlin, J.).


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                              In re Santa Fe Nat. Tobacco Co. Mktg. &
                              Sales Practices & Prods. Liab. Litig., No.
                              MD 16-2695 JB/LF, 2018 U.S. Dist. LEXIS
                              140453, at *27-28 (D.N.M. Aug. 18, 2018).

                              Should you have any questions or like to discuss
                              further please let me know.

                              Best regards,

                              Craig

                              From: Lindsey Romano <lromano@grsm.com>
                              Sent: Monday, July 25, 2022 8:15 PM
                              To: Brice Timmons <brice@donatilaw.com>;
                              'Will Routt' <wroutt@watsonburns.com>;
                              Thomas Quinn <tquinn@grsm.com>; Lillian
                              Alves <lalves@grsm.com>
                              Cc: Craig Edgington <craig@donatilaw.com>;
                              'Mike Rosenthal'
                              <mrosenthal@hkwyolaw.com>; 'Nathan
                              Nicholas' <nnicholas@hkwyolaw.com>; 'Frank
                              Watson' <fwatson@watsonburns.com>
                              Subject: RE: Sherman et al. v. Trinity Teen
                              Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

                              Our position is set forth in our meet and confer
                              letter. Essentially, our position is that HIPAA
                              related issues prohibit TTS Defendants from
                              disclosing the names of the putative plaintiffs
                              and their records without authorization or
                              additional court order. The overly burdensome
                              argument includes the request for therapy
                              records plus supervision sheets that quite
                              frankly would take an extensive amount of
                              time, cost, and effort to produce.

                              Our concern with the supervision sheets
                              remains the disclosure of patients names
                              without an express court order to avoid any
                              confidentiality and HIPAA violations. Would you
                              be willing to narrow your request to only the
                              supervision sheets and forego the request for
                              the full charts, with the caveat that the narrow
                              issue before the Magistrate would be
                              compelling the un-redacted versions of the
                              supervision sheets and confirmation that our
                              existing protective order applies to those
                              individuals?




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                              LINDSEY M. ROMANO | Assistant Managing Partner- Bay Area Offices

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                              From: Lindsey Romano
                              Sent: Monday, July 25, 2022 2:41 PM
                              To: Brice Timmons <brice@donatilaw.com>;
                              Will Routt <wroutt@watsonburns.com>;
                              Thomas Quinn <tquinn@grsm.com>; Lillian
                              Alves <lalves@grsm.com>
                              Cc: Craig Edgington <craig@donatilaw.com>;
                              Mike Rosenthal <mrosenthal@hkwyolaw.com>;
                              Nathan Nicholas <nnicholas@hkwyolaw.com>;
                              Frank Watson <fwatson@watsonburns.com>
                              Subject: RE: Sherman et al. v. Trinity Teen
                              Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

                              Thank you for the response. While TTS
                              Defendants will not concede numerosity,
                              perhaps in lieu of producing the documentation
                              requested, we can come to an agreement as to
                              providing Plaintiffs with class data points that
                              would assist your analysis on numerosity.

                              As indicated in our meet and confer letter,
                              based on our research, the allowable pre-
                              certification discovery is more analogous to TTS
                              providing specific class data points such as the
                              aggregate amount of residents over the
                              statutory ten year period, average age, and
                              average length of stay. Please advise if this
                              would be sufficient class data and if not, what
                              other information you would need, outside of
                              the specific treatment records and supervision
                              sheets.

                              Sincerely,

                              LINDSEY M. ROMANO | Assistant Managing Partner- Bay Area Offices

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                              From: Brice Timmons <brice@donatilaw.com>
                              Sent: Monday, July 25, 2022 1:29 PM
                              To: Lindsey Romano <lromano@grsm.com>;
                              Will Routt <wroutt@watsonburns.com>;
                              Thomas Quinn <tquinn@grsm.com>; Lillian
                              Alves <lalves@grsm.com>
                              Cc: Craig Edgington <craig@donatilaw.com>;
                              Mike Rosenthal <mrosenthal@hkwyolaw.com>;
                              Nathan Nicholas <nnicholas@hkwyolaw.com>;
                              Frank Watson <fwatson@watsonburns.com>
                              Subject: RE: Sherman et al. v. Trinity Teen
                              Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

                              As to the HIPAA issues, we have a HIPAA
                              compliant protective order in place already. As
                              to the issue of whether we are only entitled to
                              class discovery, the issue was not bifurcated.
                              This was expressly discussed at the scheduling
                              conference, and the Court did not bifurcate
                              discovery. As to the issue of whether the
                              production is unduly burdensome, the standard
                              is “proportional to the needs of the case,” and
                              we have already provided a list of over 100
                              potential class members who have reached out
                              about the suit. Accepting Angela Woodward’s
                              statements to the media as true, there are
                              thousands of putative class members. If you
                              would like to concede numerosity, we can
                              discuss narrowing the request further.

                              Brice M. Timmons
                              Of Counsel
                              Donati Law, PLLC
                              1545 Union Ave.
                              Memphis, Tennessee 38104
                              (901) 278-1004 ext. 207
                              (901) 278-3111 facsimile
                              (800) 521-0578 toll free
                              brice@donatilaw.com

                              The information contained in this email is
                              legally privileged and confidential

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                              under the Internal Revenue Code of 1986, as
                              amended, or (ii) promoting, marketing or
                              recommending to another party any transaction
                              or matter addressed herein.




                              From: Lindsey Romano <lromano@grsm.com>
                              Sent: Monday, July 25, 2022 3:18 PM
                              To: Will Routt <wroutt@watsonburns.com>;
                              Thomas Quinn <tquinn@grsm.com>; Lillian
                              Alves <lalves@grsm.com>
                              Cc: Craig Edgington <craig@donatilaw.com>;
                              Brice Timmons <brice@donatilaw.com>; Mike
                              Rosenthal <mrosenthal@hkwyolaw.com>;
                              Nathan Nicholas <nnicholas@hkwyolaw.com>;
                              Frank Watson <fwatson@watsonburns.com>
                              Subject: RE: Sherman et al. v. Trinity Teen
                              Solutions, Inc., et al., Case No. 2:20-cv-215-SWS

                              Counsel,

                              We reviewed your proposed Motion to Compel.
                              Please allow this e-mail to serve as Defendants
                              continued conferral on Defendants’ Responses
                              to Plaintiff’s First Interrogatories and Requests
                              for Production. You make the following
                              statement below: “As I believe Craig and Brice
                              have already discussed with you, the Trinity
                              Teen Defendants’ responses are inadequate.”
                              While Mr. Quinn discussed the subpoena you
                              served on the TTS Defendants’ accountant with
                              Mr. Timmons, this discovery issue was not
                              discussed. The e-mail below that you sent today
                              is your first response to the July 11, 2022
                              conferral letter that we sent with the TTS
                              Defendants’ responses to Plaintiffs’ First Set of

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                              Interrogatories and Request for Production of
                              Documents Propounded to the TTS Defendants.

                              Procedurally, based on the local rules, we must
                              contact the Magistrate on discovery disputes
                              prior to filing any discovery motions. (Wy. Local.
                              Civ. R. 37.1(b)). Please ensure that we are
                              included on the joint request to the Magistrate
                              if we are unable to come to a resolution.

                              As to the substantive issues, in reviewing your
                              proposed Motion to Compel, it appears that
                              your discovery requests are unchanged from
                              Plaintiffs’ First Set of Interrogatories and
                              Request for Production of Documents
                              Propounded to the TTS Defendants. Please
                              confirm that is your position.

                              Additionally, the Motion to Compel does not
                              address the threshold issues raised in our July
                              11, 2022 conferral letter regarding the
                              confidentiality and the unduly burdensome
                              nature of the request.

                              In our conferral letter we highlighted our
                              concerns and cited to other cases for your
                              consideration. If the need for these records is
                              solely for the purpose of Rule 23 certification
                              and the issue of numerosity, we believe that we
                              can come to a resolution to provide class data,
                              without the need to produce almost a quarter
                              million pages of documents at this stage of
                              discovery. Please advise if you are willing to
                              modify your requests to address the HIPAA and
                              overly burdensome nature of your request.

                              Lastly, the Defendants have and continue to act
                              in good faith in our responses and our efforts to
                              meet and confer with Plaintiffs on this issue and
                              ask that you remove any request for sanctions,
                              as that is inappropriate and unwarranted in this
                              circumstance. We look forward to hearing from
                              you.

                              Sincerely,

                              LINDSEY M. ROMANO | Assistant Managing Partner- Bay Area Offices

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                                vCard | Bio | LinkedIn

                        From: Will Routt <wroutt@watsonburns.com>
                        Sent: Monday, July 25, 2022 9:57 AM
                        To: Thomas Quinn <tquinn@grsm.com>; Lillian Alves
                        <lalves@grsm.com>; Lindsey Romano
                        <lromano@grsm.com>
                        Cc: Craig Edgington <craig@donatilaw.com>; Brice
                        Timmons (brice@donatilaw.com)
                        <brice@donatilaw.com>; Mike Rosenthal
                        <mrosenthal@hkwyolaw.com>; Nathan Nicholas
                        <nnicholas@hkwyolaw.com>; Frank Watson
                        <fwatson@watsonburns.com>
                        Subject: Sherman et al. v. Trinity Teen Solutions, Inc., et
                        al., Case No. 2:20-cv-215-SWS

                        Counsel-

                        This is a consultation email. Plaintiffs are in receipt of
                        the Trinity Teen Defendants’ Answers and Responses to
                        Plaintiffs’ First Set of Interrogatories and Requests for
                        Production of Documents. As I believe Craig and Brice
                        have already discussed with you, the Trinity Teen
                        Defendants’ responses are inadequate.

                        Accordingly, please find attached a draft of Plaintiffs’
                        Motion to Compel Discovery Answers and Production of
                        Documents, and for Sanctions and Fees. Please let us
                        know at your earliest convenience whether the Trinity
                        Teen Defendants can agree to some or all of the relief
                        requested in the Motion. If we are unable to reach
                        agreement, Plaintiffs will be forced to seek judicial
                        intervention.

                        Best,

                        Will

                        William E. Routt, III
                        WATSON BURNS, PLLC
                        253 Adams Avenue
                        Memphis, Tennessee 38103
                        901-529-7996
                        (fax) 901-529-7998
                        wroutt@watsonburns.com
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